                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Exigent Landscaping, LLC,                   Bankruptcy Case No. 23-46912-tjt
 dba Exigent Design and Build,               Hon. Thomas J. Tucker
                Debtor.                      Chapter 11
                                             Subchapter V




                                NOTICE OF APPEARANCE

      Robert N. Bassel hereby files an appearance in this case on behalf of Amanda

Pisarski and requests copies of all papers filed in this case.



                                               Respectfully submitted,


                                               /s/ Robert N. Bassel P48420
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Date: 1.24.2024




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